
PER CURIAM:
Denied. Relator fails to show he received ineffective assistance of counsel under the standard of Strickland v. Washington , 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).
Relator has now fully litigated his application for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator's claims have now been fully litigated in accord with La.C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral *423review. The district court is ordered to record a minute entry consistent with this per curiam.
Hughes, J., would grant and assigns reasons.
Hughes, J., dissents and would grant the writ.
In this case a police officer with twenty-two years experience testified before the jury that the victims were telling "one-hundred percent the truth," and a school counselor was accepted as an expert and testified that from her "professional perspective" that she saw nothing "inconsistent" with sexual child abuse. It cannot be said that the jury's verdict was surely attributable to these errors, and they are therefore not harmless.
